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 1                                                           HONORABLE MICHELLE PETERSON

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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     NANNETTE BASA, an individual,                        Case No. 2:21-cv-00754 MLP
 9
                        Plaintiff,                        STIPULATION OF DISMISSAL
10                                                        WITH PREJUDICE
            v.
11
     BRAND SHARED SERVICES, LLC, a
12   Delaware corporation,
13                      Defendant.
14

15
                        STIPULATION OF DISMISSAL WITH PREJUDICE
16
            Pursuant to FRCP 41(a)(1)(A)(ii), Plaintiff Nannette Basa (“Plaintiff”) and Defendant
17
     Brand Shared Services, LLC (“Defendant”) (collectively “the Parties”), by and through their
18

19   undersigned attorneys, hereby submit this stipulation of dismissal with prejudice (“Stipulation to

20   Dismiss”).
21          By way of this Stipulation to Dismiss, the Parties agree that the above-captioned matter
22
     should be dismissed with prejudice and that each Party will bear their own attorneys’ fees and
23
     costs. The Parties further stipulate to the removal of the case from the Court’s docket. This
24
     Stipulation to Dismiss shall have the full force and effect of adjudication on the merits.
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     STIPULATION OF DISMISSAL WITH PREJUDICE - 1
                                                                                      SEYFARTH SHAW LLP
     (CAUSE NO. 2:2-CV-00754 MLP)                                                       999 Third Avenue
                                                                                             Suite 4700
                                                                                     Seattle, WA 98104-4041
                                                                                          (206) 946-4910
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 1          Notwithstanding the foregoing, within 45 (forty-five) days of filing this Stipulation to
 2   Dismiss, Plaintiff may move to reopen this case if the Parties are not able to finalize their settlement
 3
     agreement as anticipated.
 4
            Respectfully submitted this 25th day of October, 2022.
 5

 6   LAW OFFICES OF ALEX J. HIGGINS                         SEYFARTH SHAW LLP
 7

 8   By: __/s/ Alex J. Higgins____________________________
                                                   By: /s/ Helen M. McFarland
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12                                                      hmcfarland@seyfarth.com
     Attorney for Plaintiff Nannette Basa               ekazaryan@seyfarth.com
13
                                                                  Attorneys for Defendant Brand Shared
14                                                                Services, LLC

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     STIPULATION OF DISMISSAL WITH PREJUDICE - 2
                                                                                         SEYFARTH SHAW LLP
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